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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK




   MAHMOUD KHALIL,

                               Petitioner,
   V.                                                 NO. 25 CIV. 1935 (JMF)

   WILLIAM P. JOYCE, et al.,                          DECLARATION OF ACTING FIELD OFFICE
                                                      DIRECTOR BRIAN S. ACUNA
                              Respondents.




          DECLARATION OF ACTING FIELD OFFICE DIRECTOR BRIAN ACUNA

 I, Brian S. Acuna, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

    1. I am employed by U.S. Department of Homeland Security (“DHS”), Immigration and

        Customs Enforcement (“ICE”), Enforcement and Removal Operations (“ERO”), and

        currently serve as Acting Field Office Director (“Acting FOD”) since May 12, 2025. I have

        been employed by ICE, and the former Immigration and Naturalization Service, in various

        capacities since April 1997.

    2. In my current position, I oversee several aspects of the immigration enforcement process,

        including the identification and arrest, transportation, detention, case management, and

        removal of noncitizens. In this capacity, I manage ERO personnel and provide oversight

        over a number of detention facilities within the New Orleans Field Office, including the

        Central Louisiana ICE Processing Center (“CLIPC”) in Jena, Louisiana.

    3. I am aware that Mahmoud Khalil (“Khalil”) has filed a Petition for a Writ for Habeas

        Corpus before this Court.
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     4. I am aware of a request sent to the CILPC facility on May 19, 2025, at 9:14pm by Khalil’s

        attorney, requesting extended contact visitation by Khalil’s wife, Noor Abdalla, for the

        maximum amount of time possible.

     5. I am aware of the response by the facility on May 20, 2025, at 7:33 a.m. informing

        counsel that the request for visitation extensions was approved and provided the specific

        times Mrs. Abdalla could visit. Additionally, the response informed counsel CLIPC does

        not offer contact visitation.

     6. I am aware of an email from Nora Ahmed, Legal Director of the American Civil Liberties

        Union of Louisiana, on May 20, 2025, at 2:05 p.m. requesting an exception to the no

        contact visitation policy at CILPC.

     7. I am aware of the response by the facility on May 20, 2025, at 3:02 p.m. stating facility

        procedures are for non-contact visitation only and the visit would remain on schedule for

        non-contact as previously approved.

     8. I am aware Ms. Ahmed sent a second request on May 20, 2025, at 4:46 p.m. requesting

        an exception to CILPC’s non-contact visitation policy. An additional follow-up email

        was received on May 21, 2025, at 9:08 a.m. from Ms. Ahmed.

     9. I am aware the facility responded on May 21, 2025, at 9:31 a.m. stating the visit would

        remain non-contact as previously arranged.

     10. The reason for this denial is due to facility logistics, security, and safety within the

        facility. As all visitation spaces in CLIPC have plexiglass dividers. The CLIPC only

        houses adult male detainees. Because the facility does not house female detainees or

        minors, it is unsafe to allow Mr. Khalil’s wife and newborn child into a secured part of

        the facility. The secured portion of the facility does not have separate space to allow for
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         a co-ed visit. The only alternative option would be an unsecured part of the facility, such

         as a lobby or other unsecured office space, which is not viable or in accordance with

         security standards.

     11. The facility is providing a one-time exception today, May 21, 2025, to allow Mr. Khalil

         to meet with four of his attorneys scheduled to meet with him in a training room, which

         is larger than the visitation rooms, in preparation for the hearing tomorrow. This room is

         located within a secured portion of CLIPC. Outside of this one-time accommodation,

         family members and attorneys are not allowed inside the secured part of the CLIPC, and

         all visitation is conducted in the visitation rooms. Visitation within the secured part of

         CLIPC presents security issues for the facility, the respondent, and his wife and child.

     12. A contact visit has never been offered to any other detainee, their family, or their counsel

         as the facility is not equipped to handle such requests due to security and safety standards.



 I declare under penalty of perjury that the foregoing is true and correct. Executed this 21st day of

 May 2025.




                                                     BRIAN S                  Digitally signed by BRIAN S ACUNA


                                                     ACUNA
                                                                              Date: 2025.05.21 13:30:18 -05'00'


                                                      ____________________________________
                                                      Brian S. Acuna, Acting Field Office Director
                                                                        New Orleans Field Office
                                                              Enforcement & Removal Operations
                                                      U.S. Immigration and Customs Enforcement
